         Case 1:18-cv-09433-LGS Document 109 Filed 07/06/20 Page 1 of 1
                                                     U.S. Department of Justice              Page 1

                                                     United States Attorney
                                                     Southern District of New York
                                                    86 Chambers Street
                                                    New York, New York 10007


                                                     July 6, 2020
By ECF
The Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     PEN American v. Trump, 18 Civ. 9433 (LGS)

Dear Judge Schofield:

    The parties respectfully submit this joint letter and appended proposed case management
plans pursuant to the Court’s June 2, 2020 Order. Dkt. No. 99. The parties were unable to reach
agreement on a proposed case management plan, primarily for the reasons discussed at page 5 of
the parties’ April 9, 2020 joint letter. See Dkt. No. 80 at 5. The government believes exceptional
circumstances warrant a longer discovery period than in a typical case. The government’s
proposed case management plan is attached here as Exhibit A. Plaintiff believes that discovery
should commence immediately and proceed more expeditiously. Plaintiff’s proposed case
management plan is attached here as Exhibit B.

   The parties and their counsel thank the Court for its consideration of this submission.

                                                     Respectfully submitted,

                                                     Kristy Parker
                                                     THE PROTECT DEMOCRACY PROJECT,
                                                     INC.
                                                     2020 Pennsylvania Avenue., NW, #163
                                                     Washington, DC 20006
                                                     (202) 579-4582

                                                     AUDREY STRAUSS
                                                     Acting United States Attorney
                                             By:      /s/ Steven J. Kochevar
                                                     Steven J. Kochevar
                                                     Assistant United States Attorney
                                                     86 Chambers Street, 3rd Floor
                                                     New York, NY 10007
                                                     Telephone: (212) 637-2715
                                                     Fax: (212) 637-2717
                                                     Email: steven.kochevar@usdoj.gov

Cc (by ECF): Counsel of Record
